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11                                   UNITED STATES DISTRICT COURT

12                                         DISTRICT OF NEVADA

13   DWIGHT STEWART,                            )
                                                )   Case No.: 2:21-cv-01532-EJY
14                 Plaintiff,                   )
                                                )   UNOPPOSED MOTION FOR EXTENSION OF
15          vs.                                 )   TIME TO FILE CERTIFIED
                                                )   ADMINISTRATIVE RECORD AND ANSWER
16   KILILO KIJAKAZI,                           )
     Acting Commissioner of Social Security,    )   (FIRST REQUEST)
17                                              )
                   Defendant.                   )
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 1           Defendant, Kilolo Kijakazi, Acting Commissioner of Social Security (the “Commissioner”), by
 2   and through her undersigned attorneys, hereby moves for a 60-day extension of time to file the Certified
 3   Administrative Record (CAR) and answer to Plaintiff’s Complaint. The CAR and answer to Plaintiff’s
 4   Complaint are due to be filed by November 29, 2021. This is the Commissioner’s first request for an
 5   extension of time. In support of this request, Defendant states the following:
 6           1.      The COVID-19 pandemic significantly impacted Defendant’s operations, and particularly
 7   the Office of Appellate Operations (OAO).1 Beginning in mid-March 2020, OAO’s staff members began
 8   to telework to protect employee health and prevent the spread of COVID-19. As a result, critical in-person
 9   physical tasks associated with preparing CARs could not be accomplished. To ensure continuity of
10   operations, OAO redesigned its business practices to allow for a mostly virtual preparation process. The
11   transition required, among other things, OAO to modify and test technology, retrain staff, and modify
12   blanket purchasing agreements with the transcription typing services relied upon to prepare transcripts of
13   agency hearings. OAO has continued to innovate in order to improve productivity.
14           2.      In addition to the impact the COVID-19 pandemic has had on physical operations, a major
15   contributing factor to OAO operations was a substantial increase in district court filings. New case receipts
16   during the last quarter of FY 2020 and the first quarter of FY 2021 increased (on average) to 2,257 case
17   receipts per month, as compared to 1,458 per month for the same period one year before.
18           3.      As of the end of September 2021, OAO had approximately 1,500 pending new court cases,
19   representing a decrease in the backlog of more than 9,500 cases since January 2021.
20           4.      There remains, however, a backlog of cases to be processed, including this case. The
21   undersigned has communicated with OAO on the CAR in this case, and OAO informed the undersigned
22   that a branch office must close out this case in the system before OAO can establish and prepare the CAR.
23   OAO anticipates the CAR can be completed within 60 days, if not sooner, so this amount of time is
24   requested out of an abundance of caution. Defendant does not anticipate needing another extension at this
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      OAO is based in Falls Church, Virginia, and is the office responsible for physically producing the
26   certified administrative records for cases nationwide that are filed under Sections 205(g) and (h) of the
     Social Security Act, 42 U.S.C. § 405(g) and (h).

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 1   time.
 2           Accordingly, Defendant requests an extension in which to respond to the Complaint until January
 3   28, 2022. If Defendant is unable to produce the certified administrative record necessary to file an
 4   Answer in accordance with this Order, Defendant shall request an additional extension prior to the due
 5   date.
 6           On November 18, 2021, the undersigned conferred with Plaintiff’s counsel, who has no opposition
 7   to the requested extension.
 8           It is therefore respectfully requested that Defendant be granted an extension of time to file the CAR
 9   and answer to Plaintiff’s Complaint, through and including January 28, 2022.
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11           Dated: November 19, 2021
                                                           CHRISTOPHER CHIOU
12                                                         Acting United States Attorney
13                                                         /s/ Allison J. Cheung
                                                           ALLISON J. CHEUNG
14                                                         Special Assistant United States Attorney
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                                                           IT IS SO ORDERED:
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19                                                         UNITED STATES MAGISTRATE JUDGE
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                                                           DATED: November 19, 2021
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     Unopposed Mot. for Ext.; No. 2:21-cv-01532-EJY   2
